                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

 TWAIN GL XXV, LLC,                             )
                                                )
                  Plaintiff,                    )
                                                )
         v.                                     ) Case No. 4:23-cv-00695-MTS
                                                )
 JEFFREY AHLHOLM,                               )
                                                )
 LAWRENCE FEIGEN,                               )
                                                )
 and                                            )
                                                )
 SA HOSPITAL ACQUISITION                        )
 GROUP, LLC                                     )
                                                )
 Defendants.                                    )

                                   AMENDED COMPLAINT

         This is an action to recover amounts due under a guaranty agreement executed in favor of

Plaintiff Twain GL XXV, LLC by Defendants SA Hospital Acquisition Group, LLC ("SA

Acquisition Group"), Jeffrey Ahlholm, and Lawrence Feigen.

                                 Parties, Jurisdiction, and Venue

         1.       Plaintiff Twain GL XXV, LLC ("Twain") is a Missouri limited liability company

with its principal place of business located in this judicial district at 2200 Washington Avenue, St.

Louis, Missouri, 63103.

         2.       Twain GL XXV, LLC's sole member is Twain Funding II LLC, a limited liability

company organized under the laws of Delaware.

         3.       Twain Funding II LLC’s sole member is Twain Financial Partners Holding LLC, a

limited liability company organized under the laws of Missouri.

         4.       Twain Financial Partners Holding LLC’s sole member is Twain Topco LLC, a


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limited liability company organized under the laws of Missouri.

         5.       Twain Topco LLC’s members are:

                           (a)   The Karen Handelman 2021 Family Trust;

                           (b)   The Mary Badler 2021 Family Trust;

                           (c)   The Hirshman Family Trust;

                           (d)   The Badler Family Trust;

                           (e)   2 M Management LLC;

                           (f)   Matthew Guymon, TOD Guymon Revocable Trust (the "Guymon
                                 Trust"); and

                           (g)   The Taylor Family Joint Revocable Trust

         5.       2 M Management LLC’s members are:

                           (a)   The Marc Hirshman Trust; and

                           (b)   The Matthew Badler Revocable Trust.

         6.       The Karen Handelman 2021 Family Trust is governed by Missouri law, which

imposes fiduciary duties on the trustee and authorizes the trustee to sue and be sued on behalf of

the trust. The trustees of the Karen Handelman Family Trust are Karen Handelman and Marc

Hirshman.

         7.       The Mary Badler 2021 Family Trust is governed by Missouri law, which imposes

fiduciary duties on the trustee and authorizes the trustee to sue and be sued on behalf of the trust.

The trustees of the Mary Badler 2021 Family Trust are Mary Badler and Matthew Badler.

         8.       The Hirshman Family Trust is governed by Missouri law, which imposes fiduciary

duties on the trustee and authorizes the trustee to sue and be sued on behalf of the trust. The trustee

of the Hirshman Family Trust is Marc Hirshman.

         9.       The Badler Family Trust is governed by Missouri law, which imposes fiduciary

duties on the trustee and authorizes the trustee to sue and be sued on behalf of the trust. The trustee

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of the Badler Family Trust is Matthew Badler.

         10.      The Guymon Trust is governed by Missouri law, which imposes fiduciary duties

on the trustee and authorizes the trustee to sue and be sued on behalf of the trust. The trustee of

the Guymon Trust is Matthew Guymon.

         11.      The Taylor Family Joint Revocable Trust is governed by Missouri law, which

imposes fiduciary duties on the trustee and authorizes the trustee to sue and be sued on behalf of

the trust. The trustee of the Taylor Family Joint Revocable Trust is David Taylor.

         12.      The Marc Hirshman Trust is governed by Missouri law, which imposes fiduciary

duties on the trustee and authorizes the trustee to sue and be sued on behalf of the trust. The trustee

of the Marc Hirshman Trust is Marc Hirshman.

         13.      The Matthew Badler Revocable Trust is governed by Missouri law, which imposes

fiduciary duties on the trustee and authorizes the trustee to sue and be sued on behalf of the trust.

The trustee of the Matthew Badler Revocable Trust is Matthew Badler.

         14.      At the time this action was commenced and as of the date of this Amended

Complaint, Matthew Badler and Mary Badler reside permanently in St. Louis County, Missouri,

and are taxpayers and citizens of the State of Missouri.

         15.      At the time this action was commenced and as of the date of this Amended

Complaint, Marc Hirshman and Karen Handelman reside permanently in Colorado, and are

taxpayers and citizens of the State of Colorado.

         16.      At the time this action was commenced and as of the date of this Amended

Complaint, Matt Guymon resides permanently in St. Louis County, Missouri, and is a taxpayer

and citizen of the State of Missouri.

         17.      At the time this action was commenced and as of the date of this Amended



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Complaint, David Taylor resides permanently in St. Louis County, Missouri, and is a taxpayer and

citizen of the State or Missouri.

          18.     Upon information and belief, Defendant Jeffrey Ahlholm resides in Ventura

County, California. He resides permanently in California, and is a taxpayer and citizen of

California.

          19.     Upon information and belief, Defendant Lawrence Feigen resides in Los Angeles

County, California. He resides permanently in California, and is a taxpayer and citizen of

California.

          20.     SA Acquisition Group is a Delaware Limited Liability Company. Upon

information and belief, SA Acquisition Group has three members: Ahlholm, Feigen, and Troy A.

Schell.

          21.     Upon information and belief, Troy A. Schell resides in San Bernardino County,

California. He resides permanently in California, and is a taxpayer and citizen of California.

          22.     Jurisdiction in this action is proper pursuant to 28 U.S.C. § 1332, as the matter in

controversy exceeds $75,000, and because Twain, on the one hand, and Defendants, on the other

hand, are citizens of different states.

          23.     Under the guaranty agreement at issue, Defendants consented to the jurisdiction of

any state or federal court located in the City of St. Louis, Missouri (where the Premises (defined

below) at issue are located), and agreed that any actions or proceedings arising out of or relating

to the agreements at issue shall be litigated in such courts. (See Ex. 2, at § 20).

          24.     In addition, venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omissions giving rise to the claims set forth herein occurred in this

District.



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                                The Ground Lease and Guaranty Agreements

         25.      Twain is the fee owner of certain real property located at 3933 South Broadway in

the City of St. Louis, Missouri (the "Premises").

         26.      On or about December 29, 2021, Twain entered into a 99-year Ground Lease with

SA Hospital Real Estate Holdings, LLC (“SA Hospital"), pursuant to which Twain agreed to lease

the Premises to SA Hospital in exchange for certain base and supplement rent payments, among

numerous other obligations (the "Ground Lease"). A copy of the Ground Lease is attached as

Exhibit 1 and incorporated by reference.

         27.      Pursuant to the Ground Lease, SA Hospital is in possession of the Premises, which

are being used for the operation of a 178-bed hospital located in South St. Louis, known as South

City Hospital (the "Hospital").

         28.      The Ground Lease requires SA Hospital to make periodic rent payments to Twain,

on an agreed-upon schedule. (Ex. 1, Ground Lease, Article II).

         29.      In addition, the Ground Lease imposed certain construction obligations on SA

Hospital, requiring SA Hospital to construct (or cause to be constructed) certain improvements

and renovations to the hospital facilities located on the Premises, and including the obligation to

use commercially reasonable efforts to commence and complete the improvements and

renovations diligently and on time, pursuant to the terms of the Ground Lease; and to keep the

Premises free and clear of mechanics' liens and other claims. (Id., Article V).

         30. ` Under the Ground Lease, SA Hospital is liable to Twain for all costs, expenses and

attorneys’ fees incurred by Twain in enforcing its rights under the Ground Lease and related

documents. (Ex. 1, Ground Lease at § 13.02).

         31.      To secure SA Hospital's obligations under the Ground Lease, Defendants executed



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a "Completion and Rent Payment Guaranty" in favor of Twain, thereby guaranteeing all

obligations of SA Hospital to Twain (the “Guaranty”). A true and correct copy of the Guaranty is

attached as Exhibit 2 and incorporated herein by reference.

         32.      Under the Guaranty, Defendants agreed (jointly and severally) to unconditionally

and irrevocably guarantee the full, prompt, and unconditional performance and observance by SA

Hospital of each and every term, covenant, agreement and condition to be performed or observed

by SA Hospital pursuant to the Ground Lease, along with full completion of the construction

contemplated by the Ground Lease; SA Hospital's indemnity obligations under the Ground Lease;

and any and all costs of collecting amounts due under the Ground Lease, or enforcing Twain's

rights under the Ground Lease or Guaranty. (Ex. 2, Guaranty at § 1).

         33.      In addition, Defendants agreed that in the event of a default under the Ground

Lease, Defendants shall pay all rent due under the Ground Lease, along with related charges. (Id.

at § 1 and 2).

         34.      Also, Defendants specifically agreed that in the event of a default under the Ground

Lease, Defendants shall pay all "Construction Costs" incurred under the Ground Lease, as defined

in Section 2 of the Guaranty. (Id. at § 2).

                 SA Hospital's Defaults Under the Ground Lease | Twain's Losses

         35.      SA Hospital is in default under the Ground Lease in numerous ways, including (i)

failing to make all rent payments due under the Ground Lease; (ii) failing to complete the required

improvements and renovations to the Hospital; (iii) failing to provide financial statements as

required by Section 13.18 of the Ground Lease; (iv) exposing the Hospital, the Premises, and

Twain to several mechanic's lien claims, in violation of Section 5.05 of the Ground Lease, which

requires SA Hospital to reimburse Twain for any expenses and losses incurred in paying, adjusting,



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compromising, and discharging mechanics' lien claims; and (v) exposing the Hospital, Premises,

and (in some instances) Twain to numerous lawsuits, claims, judgments, and other obligations,

and otherwise failing to operate and manage the Hospital in a safe and stable condition; among

other issues.

         36.      Despite demand from Twain, SA Hospital has failed to make rent payments due

and owing under the Ground Lease. On April 13, 2023, Twain sent a letter to SA Hospital declaring

the payment default, identifying the amounts owed, and explaining the necessary cure and relevant

deadline. A true and correct copy of that letter is attached as Exhibit 3.

         37.      As of May 9, 2023, SA Hospital was indebted to Landlord in the amount of

$802,444.42, consisting of base/supplemental rent, late charges, and per diem additional rent,

which continues to accrue (the "Unpaid Rent"). An invoice showing and itemizing the Unpaid

Rent is attached as Exhibit 4.

         38.      SA Hospital defaulted under Section V of the Ground Lease in numerous ways, by

failing to finish construction before the agreed-upon completion date; making material

misrepresentations in connection with the construction, including statements that the relevant loans

and work were consistent with the agreed-upon budget (they were not); and failing to keep the

Premises free and clear of mechanics' liens (as discussed in more detail below). A notice of Default

setting forth these defects is attached hereto and marked as Exhibit 5. Despite the notice, SA

Hospital failed to cure the defaults.

         39.      As a direct and proximate result of SA Hospital's defaults under Section V of the

Ground Lease, Twain has suffered losses and other damages. SA Hospital's failure to complete

construction in a thorough and timely manner has reduced the value of the Premises, restricted

operation of the Hospital, and caused the filing of several mechanics' liens and related lawsuits, in



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which Twain is a named defendant. To date, SA Hospital has refused to defend and indemnify

Twain from those mechanics' lien lawsuits, causing Twain to incur attorneys' fees and other

expenses to defend those lawsuits and protect its interest in the Premises.

         40.      As a result of SA Hospital's defaults, Guarantors are liable to Twain for all

"Construction Costs," as defined in Section 2 of the Guaranty, in addition to the Unpaid Rent and

other expenses and losses.

         41.      SA Hospital's defaults under the Ground Lease, and other failures, have caused

Twain to incur significant expense to enforce its rights and protect its interest in the Premises and

the Hospital’s operations. Twain has incurred, and will continue to incur, significant expenses in

connection with its investigation of the condition of the Premises and Hospital and related legal

proceedings, including an action seeking the appointment of a general receiver to take control of

substantially all of SA Hospital's property and business operations.

         42.      In addition, SA Hospital's defaults under the Ground Lease, and other failures, have

caused Twain to suffer additional losses and damages, including a loss in value of the Premises,

and other costs and expenses incurred in connection with SA Hospital's failure to complete certain

improvements and renovations to the Hospital.

                          Count I | Breach of Guaranty (Defendant Ahlholm)

         43.      Twain restates and incorporates the allegations set forth in paragraphs 1 through 42

of this Complaint, as if fully set forth herein.

         44.      Twain relied on the Guaranty in leasing the Premises to SA Hospital, and otherwise

extending credit to SA Hospital.

         45.      Twain has satisfied all conditions precedent under the Guaranty.

         46.      As of today’s date, SA Hospital remains in default under the Ground Lease. SA



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Hospital is liable to Twain for a variety of damages, expenses, and losses, as set forth in paragraphs

35 through 42, above, among other losses.

         47.      As a result, Guarantors are liable to Twain for all amounts due and owing, including

the Unpaid Rent; "Construction Costs," as defined in Section 2 of the Guaranty; and a variety of

other damages, expenses, and losses.

         48.      Despite demand, Ahlholm has failed to pay the amounts due from SA Hospital to

Twain, as required by the Guaranty.

         49.       As a direct and proximate result of Ahlholm's failure to pay the amounts due under

the Guaranty, Twain has been damaged and suffered a variety of damages, expenses, and losses,

as stated above. Twain's losses are ongoing and continue to accrue.

         50.      The Guaranty provides that in the event any guarantor fails to perform its

obligations under the Guaranty, the non-prevailing party in any related dispute shall pay any and

all costs and expenses incurred by the other party in enforcing or establishing its rights under the

Guaranty, including court costs and reasonable attorney's fees. (Ex. 2, Guaranty at § 22.)

         51.      Twain has incurred, and will continue to incur, attorneys’ fees and other costs in

enforcing its rights and remedies under the Ground Lease and Guaranty.

                          Count II | Breach of Guaranty (Defendant Feigen)

         52.      Twain restates and incorporates the allegations set forth in paragraphs 1 through 51

of this Complaint, as if fully set forth herein.

         53.      Twain relied on the Guaranty in leasing the Premises to SA Hospital, and otherwise

extending credit to SA Hospital. and accordingly

         54.      Twain has satisfied all conditions precedent under the Guaranty.

         55.      As of today’s date, SA Hospital remains in default under the Ground Lease. SA



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Hospital is liable to Twain for a variety of damages, expenses, and losses, as set forth in paragraphs

34 through 41, above, among other losses.

         56.      As a result, Guarantors are liable to Twain for all amounts due and owing, including

the Unpaid Rent; "Construction Costs," as defined in Section 2 of the Guaranty; and a variety of

other damages, expenses, and losses.

         57.      Despite demand, Feigen has failed to pay the amounts due from SA Hospital to

Twain, as required by the Guaranty.

         58.       As a direct and proximate result of Feigen's failure to pay the amounts due under

the Guaranty, Twain has been damaged and suffered a variety of damages, expenses, and losses,

as stated above. Twain's losses are ongoing and continue to accrue.

         59.      The Guaranty provides that in the event any guarantor fails to perform its

obligations under the Guaranty, the non-prevailing party in any related dispute shall pay any and

all costs and expenses incurred by the other party in enforcing or establishing its rights under the

Guaranty, including court costs and reasonable attorney's fees. (Ex. 2, Guaranty at § 22.)

         60.      Twain has incurred, and will continue to incur, attorneys’ fees and other costs in

enforcing its rights and remedies under the Ground Lease and Guaranty.

                       Count III | Breach of Guaranty (SA Acquisition Group)

         61.      Twain restates and incorporates the allegations set forth in paragraphs 1 through 60

of this Complaint, as if fully set forth herein.

         62.      Twain relied on the Guaranty in leasing the Premises to SA Hospital, and otherwise

extending credit to SA Hospital. and accordingly

         63.      Twain has satisfied all conditions precedent under the Guaranty.

         64.      As of today’s date, SA Hospital remains in default under the Ground Lease. SA



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Hospital is liable to Twain for a variety of damages, expenses, and losses, as set forth in paragraphs

34 through 41, above, among other losses.

         65.      As a result, Guarantors are liable to Twain for all amounts due and owing, including

the Unpaid Rent; "Construction Costs," as defined in Section 2 of the Guaranty; and a variety of

other damages, expenses, and losses.

         66.      Despite demand, SA Acquisition Group has failed to pay the amounts due from SA

Hospital to Twain, as required by the Guaranty.

         67.       As a direct and proximate result of SA Acquisition Group's failure to pay the

amounts due under the Guaranty, Twain has been damaged and suffered a variety of damages,

expenses, and losses, as stated above. Twain's losses are ongoing and continue to accrue.

         68.      The Guaranty provides that in the event any guarantor fails to perform its

obligations under the Guaranty, the non-prevailing party in any related dispute shall pay any and

all costs and expenses incurred by the other party in enforcing or establishing its rights under the

Guaranty, including court costs and reasonable attorney's fees. (Ex. 2, Guaranty at § 22.)

         69.      Twain has incurred, and will continue to incur, attorneys’ fees and other costs in

enforcing its rights and remedies under the Ground Lease and Guaranty.

         WHEREFORE, Plaintiff Twain GL XXV, LLC prays for judgment against Defendants

Jeffrey Ahlholm, Lawrence Feigen, and SA Hospital Acquisition Group, LLC, jointly and

severally, in the amount exceeding $75,000, and consisting of the Unpaid Rent; all "Construction

Costs," as defined in Section 2 of the Guaranty; any other losses, expenses, and damages suffered

by Twain as a result of SA Hospital's defaults under the Ground Lease, or otherwise incurred by

Twain in connection with the enforcement of Twain's rights under the Ground Lease and Guaranty;

Twain's costs, expenses, and attorneys' fees permitted under the Ground Lease and Guaranty;



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interest and other penalties and charges permitted under the Ground Lease and Guaranty, or other

applicable law; and other relief the Court finds appropriate.




 Dated: June 5, 2023                          Respectfully submitted,

                                                      STINSON LLP

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                                CERTIFICATE OF SERVICE

       Plaintiff will serve this Amended Complaint with its original Summonses to Defendants,
via special process server.


                                                  /s/ Andrew J. Scavotto
                                                  Attorney for Plaintiff Twain GL XXV,
                                                  LLC




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